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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
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10      THOMAS CHUNG, et al.,
                                                             CASE NO. 2:20-cv-00772-RAJ-JRC
11                             Plaintiffs,
                                                             ORDER TO SHOW CAUSE
12              v.                                           REGARDING JOINT STATUS
                                                             REPORT
13      OLD REPUBLIC NATIONAL TITLE
        INSURANCE COMPANY,
14
                               Defendant.
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16          On September 8, 2020, the parties were ordered to submit a Joint Status Report by

17   September 22, 2020. Dkt. 12. They have not done so; nor have they requested an extension of

18   the deadline. The parties are therefore ORDERED to show cause why they have not complied

19   with the Court’s Order or to file their Joint Status Report on or before October 2, 2020.

20          Dated this 25th day of September, 2020.

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22
                                                          A
                                                          J. Richard Creatura
23                                                        United States Magistrate Judge

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     ORDER TO SHOW CAUSE REGARDING JOINT
     STATUS REPORT - 1
